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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

EMILY DAHL, HANNAH REDOUTE,                                  EX-PARTE MOTION
BAILEY KORHORN, and MORGAN                                   FOR TEMPORARY
OTTESON,                                                     RESTRAINING ORDER AND
                                                             CERTIFICATE OF SERVICE
                           Plaintiffs,
                                                             EXPEDITED CONSIDERATION
-vs-                                                         REQUESTED

THE BOARD OF TRUSTEES OF WESTERN                             CASE NO.:
MICHIGAN UNIVERSITY; EDWARD
MONTGOMERY, President of WMU; KATHY                          HON.:
BEAUREGARD, WMU Athletic Director; and
TAMMY L. MILLER, Associate Director
of Institutional Equity,

                           Defendants.
                                                      /
GREAT LAKES JUSTICE CENTER:
David A. Kallman                         (P34200)
Stephen P. Kallman                       (P75622)
Erin E. Mersino                          (P70886)
Jack C. Jordan                           (P46551)
Attorneys for Plaintiffs
5600 W. Mount Hope Hwy.
Lansing, MI 48917
(517) 322-3207


            EX-PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

                           EXPEDITED CONSIDERATION REQUESTED

        Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs, Emily Dahl, Hannah

Redoute, Bailey Korhorn, and Morgan Otteson (collectively referred to as “Plaintiffs”), by and

through undersigned counsel, hereby move this Court for a Temporary Restraining Order (TRO)

(ex parte), immediately enjoining the enforcement of Defendants’ mandated Covid-19 vaccination

requirements as applied to Plaintiffs.


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       Expedited consideration is necessary because the harm to Plaintiffs is occurring now, and

it is irreparable. Defendants have stated that it is their intent to permanently kick Plaintiffs off of

their intercollegiate athletic teams on August 31, 2021, if they are not vaccinated before that date.

This harm is set forth in greater detail in the accompanying brief and is supported by the attached

Affidavits (Exhibits J, K, L, and M).

       Accordingly, Plaintiffs request that the Court immediately issue the requested TRO (ex

parte) to maintain the status quo, and then set an expedited schedule for briefing on the separate

but related request for a preliminary injunction, at which time opposing counsel will have the

opportunity to respond in full. Time is of the essence.

       Pursuant to Rule 65(b)(1)(B) of the Federal Rules of Civil Procedure and Local Rule 7.1,

Plaintiffs were unable to speak with Defendants’ counsel as it is unknown who will represent

Defendants prior to making this TRO request. The Court should issue the requested TRO

immediately and without further notice to any party for all the reasons stated herein and in the

attached brief in support.

       Plaintiffs were notified of Defendants’ rejection of their religious accommodation request

on August 25 and 30, 2021. Plaintiffs obtained legal counsel in the evening on Friday, August 27,

2021, and this lawsuit was filed on Monday, August 30, 2021.

       For all the reasons stated in the attached Brief in Support, Plaintiffs respectfully request

that this Honorable Court grant their Motion and issue a Temporary Restraining Order against

Defendants as outlined in the attached proposed order.




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       WHEREFORE, Plaintiffs respectfully request that the Court immediately issue the

requested TRO pending a hearing on whether a broader preliminary injunction should issue.

                                                   Respectfully submitted,

                                                   GREAT LAKES JUSTICE CENTER

                                                   /s/ David A. Kallman
                                                   David A. Kallman
                                                   Stephen P. Kallman
                                                   Erin E. Mersino
                                                   Jack C. Jordan
                                                   Counsel for Plaintiffs


                               CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2021, a copy of the foregoing Ex-Parte Motion for

Temporary Restraining Order, with Brief in Support and Exhibits, was filed electronically with

the Court. Notice of this filing will be sent to all parties for whom counsel has entered an

appearance by operation of the court’s electronic filing system. Parties may access this filing

through the court’s system.

                                                   GREAT LAKES JUSTICE CENTER

                                                   /s/ David A. Kallman
                                                   David A. Kallman




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